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 8
                          UNITED STATES DISTRICT COURT
 9
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11
      John Medina,                              Case No.: 2:19-cv-08150-PA-PLA
12
                                                   ORDER AWARDING EQUAL
13
                  Plaintiff;                       ACCESS TO JUSTICE ACT
            vs.                                    ATTORNEY FEES, PURSUANT
14
                                                   TO 28 U.S.C. § 2412(d), AND
      Andrew M. Saul, Commissioner of
15                                                 COSTS PURSUANT TO 28 U.S.C.
      Social Security,
16
                                                   § 1920.
17          Defendant.
18

19          Based upon the parties’ Stipulation for the Award and Payment of Equal
20    Access to Justice Act Fees and Costs Expenses, IT IS ORDERED that fees in the
21    amount of $6,500.00 as authorized by 28 U.S.C. § 2412, and costs in the amount
22    /
23    /
24    /
25    /
26    /
27    /
28    /



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          ORDER FOR AWARD AND PAYMENT OF ATTORNEY FEES AND EXPENSES (EAJA)
                           Medina v. Commissioner of Social Security
     Case 2:19-cv-08150-PA-PLA Document 22 Filed 11/09/20 Page 2 of 2 Page ID #:1937



 1
      of $400.00 as authorized by 28 U.S.C. § 1920, be awarded subject to the terms of
 2
      the Stipulation.
 3

 4
      IT IS SO RECOMMENDED:
 5

 6
      Dated: November 9, 2020              __________________________________
 7                                         HONORABLE PAUL L. ABRAMS
                                           United States Chief Magistrate Judge
 8

 9
      IT IS SO ORDERED:
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11
      Dated: November 9, 2020
12
                                           PERCY ANDERSON
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                                           United States District Judge
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          ORDER FOR AWARD AND PAYMENT OF ATTORNEY FEES AND EXPENSES (EAJA)
                           Medina v. Commissioner of Social Security
